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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 9:19-cv-81160-RS




      APPLE INC.,

                                 Plaintiff,

            v.

      CORELLIUM, LLC,

                               Defendant.



   PLAINTIFF APPLE INC.’S DISPUTED MOTION TO FILE UNDER SEAL CERTAIN
       SPECIFIED PORTIONS OF APPLE INC.’S OPPOSITION TO DEFENDANT
  CORELLIUM, LLC’S MOTION FOR SUMMARY JUDGMENT, CERTAIN SPECIFIED
    PORTIONS OF APPLE INC.’S RESPONSE TO DEFENDANT CORELLIUM LLC’S
    STATEMENT OF MATERIAL FACTS IN SUPPORT OF CORELLIUM’S MOTION
           FOR SUMMARY JUDGMENT, AND PLAINTIFF’S EXHIBIT 84,
                AND INCORPORATED MEMORANDUM OF LAW

           Plaintiff, Apple Inc., by and through undersigned counsel, pursuant to S.D. Fla. Local Rule
  5.4, respectfully moves this Court for an order authorizing the filing under seal of (1) the last half
  of the last sentence of the third paragraph on page 1 and the first three and a half sentences of the
  final paragraph on page 5 of Apple Inc.’s Opposition to Defendant Corellium, LLC’s Motion for
  Summary Judgment (the “Opposition”); (2) paragraphs 41 and 81–83 of Apple Inc.’s Response to
  Defendant Corellium, LLC’s Statement of Material Facts in Support of Corellium’s Motion for
  Summary Judgment (“Response to Corellium’s Statement of Material Facts”); and (3) the entirety
  of Plaintiff’s Exhibit 84 attached thereto.1 In support of this request, Apple states as follows.
                                              BACKGROUND
           On May 26, 2020, Apple will file its opposition to Corellium’s Motion for Summary


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    The remainder of the material Apple seeks to file under seal in its Opposition and related filings
  is addressed in a separate, unopposed motion to seal.
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  Judgment, along with its Response to Corellium’s Statement of Material Facts, and Plaintiff’s
  Exhibit 84 attached thereto. Corellium and the United States maintain




         On Wednesday, May 13, 2020, the parties submitted a joint filing to the Court




         On Friday, May 22, 2020,




                                         ,
                                                                        Apple agreed to file this motion
  to seal. Apple explained to both Corellium and the United States, however, as it explains below,
  that Apple does not believe that that the material at issue is properly subject to an order to seal.
                                         LEGAL STANDARD
         It is well established that there is a common law right of access to public records in civil
  actions. See Chicago Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311 (11th Cir.
  2001). That is why “the Court’s general policy is that court filings are matters of public record.”
  Noveshen v. Bridgewater Assocs., LP, No. 13-61535-CIV, 2016 WL 1579264, at *1 (S.D. Fla. Apr.
  19, 2016) (citing S.D. Fla. L.R. 5.4(a)). In fact, “[t]he right of access creates a rebuttable
  presumption in favor of openness of court records,” Gubarev v. Buzzfeed, Inc., 365 F. Supp. 3d
  1250, 1256 (S.D. Fla. 2019)—a presumption that is particularly strong “with regard to dispositive
  documents that relate to the merits of the case,” MSP Recovery Claims, Series LLC v. ACE Am.
  Ins. Co., No. 17-23749-CIV, 2017 WL 6622648, at *2 (S.D. Fla. Dec. 22, 2017); see also Mata
  Chorwadi, Inc. v. City of Boynton Beach, No. 9:19-CV-81069 2020 WL 251679, at *3 n.3 (S.D.
  Fla. May 18, 2020) (“[A] party that submits documents with a motion for summary judgment, or


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  in a later stage of litigation, puts the information into the public domain and triggers greater public
  right of access.”); C&M Oil Co. v. CITGO Petrol. Corp., No. 04-22901-CIV, 2007 WL 95751800,
  at *2 (S.D. Fla. June 5, 2007) (“Decisions that are central to merits resolution implicate a greater
  right to access consideration in the determination of whether good cause exists.”).
          To justify sealing of the material at issue, Corellium and the United States bear the “burden
  to illustrate the need for” the material “to remain confidential.” Chiron Recovery Ctr., LLC v.
  AmeriHealth HMO of New Jersey, Inc., No. 9:16-CV-82043, 2018 WL 8582983, at *1 (S.D. Fla.
  Jan. 5, 2018). To do so, Corellium and the United States must show “good cause, which requires
  ‘balanc[ing] the asserted right of access against the other party’s interest in keeping the information
  confidential.’” Romero v. Drummond Co., Inc., 480 F.3d 1234, 1246 (11th Cir. 2007)) (quoting
  Chicago Tribune, 263 F.3d at 1309). The existence of “good cause” is “decided by the nature and
  character of the information in question,” including (1) “whether allowing access would impair
  court functions or harm legitimate privacy interests”; (2) “the degree of and likelihood of injury if
  made public”; (3) “the reliability of the information”; (4) “whether there will be an opportunity to
  respond to the information”; (5) “whether the information concerns public officials or public
  concerns”; and (6) “the availability of a less onerous alternative to sealing the documents.” Id.;
  see also Chiron Recovery Ctr., LLC v. AmeriHealth HMO of New Jersey, Inc., 2018 WL 8582983,
  at *1–2 (S.D. Fla. Jan. 5, 2018) (considering a motion to seal documents related to a summary
  judgment motion and finding that only patient-related information merited sealing); Winn-Dixie
  Stores, Inc. v. Dollar Tree Stores, Inc., 2011 WL 13123333, at *1–2 (S.D. Fla. Dec. 23, 2011)
  (denying various motions to seal related to summary judgment motions).
          Corellium and the United States cannot carry their burden to show good cause because the
  factors here favor public, not sealed, filing of the material at issue.




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                                           CONCLUSION
         WHEREFORE Apple respectfully requests that the following be filed under seal and
  remain under seal until the Court has an opportunity to evaluate and either accept or reject
  Corellium’s and the United States’ positions:
             a. The last half of the last sentence of the third paragraph on page 1 and the first three
                 and a half sentences of the final paragraph on page 5 of Apple Inc.’s Opposition to
                 Defendant Corellium’s LLC Motion for Summary Judgment;
             b. Paragraphs 41 and 81–83 of Apple Inc.’s Response to Defendant Corellium LLC’s
                 Statement of Material Facts in Support of Corellium’s Motion for Summary
                 Judgment; and
             c. Plaintiff’s Exhibit 84 attached thereto.
         A proposed order is submitted herewith.
                               LOCAL RULE 7.1(A)(3) CERTIFICATION
         Pursuant to Local Rule 7.1(a)(3), the undersigned counsel verifies that counsel for Plaintiff
  conferred via email and telephone with counsel for Defendant and for the United States on May
  22, 2020, regarding the relief sought herein. Defendant and the United States have both asked that
  Apple file this motion.




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   Dated: May 26, 2020                             Respectfully Submitted,

   Michele D. Johnson*                             s/ Martin B. Goldberg
   michele.johnson@lw.com
   LATHAM & WATKINS LLP                            Martin B. Goldberg
   650 Town Center Drive, 20th Floor               Florida Bar No. 0827029
   Costa Mesa, CA 92626                            mgoldberg@lashgoldberg.com
   (714) 540-1235 / (714) 755-8290 Fax             rdiaz@lashgoldberg.com
                                                   Emily L. Pincow
   Sarang Vijay Damle*                             Florida Bar. No. 1010370
   sy.damle@lw.com                                 epincow@lashgoldberg.com
   Elana Nightingale Dawson*                       LASH & GOLDBERG LLP
   elana.nightingaledawson@lw.com                  100 Southeast Second Street
   LATHAM & WATKINS LLP                            Miami, FL 33131
   555 Eleventh Street NW, Suite 1000              (305) 347-4040 / (305) 347-4050 Fax
   Washington, DC 20004
   (202) 637-2200 / (202) 637-2201 Fax

   Andrew M. Gass*
   andrew.gass@lw.com
   Joseph R. Wetzel
   joe.wetzel@lw.corm
   LATHAM & WATKINS LLP
   505 Montgomery Street, Suite 2000
   San Francisco, CA 94111
   (415) 391-0600 / (415) 395-8095 Fax

   Jessica Stebbins Bina*
   jessica.stebbinsbina@lw.com
   LATHAM & WATKINS LLP
   10250 Constellation Blvd., Suite 1100
   Los Angeles, CA 90067
   (424) 653-5500 / (424) 653-5501 Fax

   Gabriel S. Gross*
   gabe.gross@lw.com
   LATHAM & WATKINS LLP
   140 Scott Drive
   Menlo Park, CA 94025
   (650) 463-2628 / (650) 463-2600 Fax

   *Admitted pro hac vice

                                 Attorneys for Plaintiff APPLE INC.




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